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                                      UNITED STATES DISTRICT COURT

                                     EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                 *        NO. 20-CR-00055
                                                         *
                                                                  SECT. F. MAG. 4
VERSUS                                                   *
                                                         *        JUDGE FELDMAN
JASON R. WILLIAMS                                        *
                                                         *        MAGISTRATE JUDGE ROBY



UNITED STATES OF AMERICA                                 *        NO. 20-CR-139
                                                         *
                                                                  SECT. F. MAG. 3
VERSUS                                                   *
                                                         *        JUDGE FELDMAN
NICOLE E. BURDETT                                        *
                                                         *        MAGISTRATE JUDGE DANA DOUGLAS



                                                SCHEDULING ORDER


         Considering the Government’s unopposed Motion to Adopt a Scheduling Order, the Court

hereby sets the following guidelines and deadlines:1



                                                       DISCOVERY

         Informal letter discovery/reciprocal discovery will be conducted in accordance with Rule 16 of

the Federal Rules of Criminal Procedure. All discovery and reciprocal discovery obligations should

be completed no later than August 17, 2021.



1
  The scheduling order assumes a trial date of November 1, 2021. Should the trial date change, the dates and deadlines
reflected in this Order will automatically adjust to incorporate the change in trial date (i.e., the number of days prior to trial
for each deadline will remain the same).


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                                             EXPERT WITNESSES

         In accordance with the provisions of Rule 16(a)(1)(G) and Rule 16(b)(1)(C), all parties shall

designate the type of experts it intends to utilize at trial and satisfy the requirements of Rule 16(a)(1)(G)

and Rule 16(b)(1)(C) by September 17, 2021.2



                          SUBSTANTIVE MOTIONS / MOTIONS IN LIMINE

         All substantive motions and motions in limine shall be filed no later than October 1, 2021.



                 NOTICE OF INTENT TO OFFER EVIDENCE OF OTHER ACTS

         All notices required under FED. R. EVID. 404(b) shall be filed no later than May 30, 2021.



                                                 STIPULATIONS

         To facilitate judicial economy through a speedy trial and to eliminate unnecessary and time-

consuming testimony, where authenticity and technical predicates are not at issue, the United States

will submit a proposed stipulation relating to the authenticity of its evidence no later than August 13,

2021. The stipulations will encompass the authenticity of e-mails and business/public records. This

paragraph is also applicable to any documents the parties seek to introduce via 902 Affidavits and to

records provided to the Government by the defendants. The defense will review the proposed

stipulations and propose any changes, with agreement on the final stipulations, if any, to be completed

no later than September 27, 2021. If the defendants object to the introduction of these exhibits and



2
  Any party intending to use an expert at trial must provide a “summary of [the] expert witness’s opinions, the bases and
reasons for those opinions, and the witness’s qualifications” in accordance with Rule 16 by September 17, 2021. See FED.
R. CRIM. P. 16(a)(1)(G) and 16(b)(1)(C).

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require a witness to authenticate, they will advise the Government no later than August 27, 2021. The

United States will likewise act accordingly with any stipulations proposed by the defense.



               JURY INSTRUCTIONS AND PROPOSED VOIR DIRE QUESTIONS
    Any motions for use of a jury questionnaire will be submitted to the Court no later than August 8,

2021.

    Proposed Jury Instructions and Proposed Voir Dire Questions will be submitted to the Court no

later than October 8, 2021.



                                         BRADY MATERIAL

         The United States is aware of its continuing obligation to produce exculpatory and other

impeachment material under Brady v. Maryland, United States v. Giglio, and their progeny, and will

scrupulously discharge this obligation by seeking and producing information that is favorable to the

defense as it comes to the attention of the Government, even if such information is contained in

statements that would otherwise be Jencks material. Materials discoverable under Brady, to the extent

they exist, will be provided during the Rule 16 discovery phase of this proceeding set forth above.



                              JENCKS ACT and GIGLIO MATERIALS

         Materials to which the defendant and the United States are entitled to under the Jencks Act (18

U.S.C. § 3500) will be provided October 13, 2021.



                                           EXHIBIT LISTS

         Proposed Exhibit lists (United States and Defense) will be submitted by October 15, 2021.



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                                            OBJECTIONS – EXHIBITS

         Objections to proposed exhibits will be provided to the Court no later than October 20, 2021,

with responses to the objections due to the Court no later than October 25, 2021.3

                                                    WITNESS LISTS

         Proposed Witness lists (Government and Defense) will be submitted by October 20, 2021.

                                                SUMMARY CHARTS

    The parties will disclose any summary exhibits, prepared pursuant to FED. R. EVID. 1006, that

they intend to use in their case-in-chief, no later than October 18, 2021. The Government may disclose

supplemental summary exhibits in response to exhibits, testimony or arguments offered by defendants,

no later than the day before the Government intends to introduce these exhibits. Pursuant to Rule 1006,

the Government will make available for inspection the data or information underlying these exhibits

upon production of these exhibits.

    The parties will disclose any demonstrative or illustrative exhibits that they intend to introduce at

trial pursuant to Rule 611(a) prior to its use at trial.



                                             OPENING STATEMENTS

    The Government will have 45 minutes for opening statement.

    The Defense will have a total of 60 minutes, to be allocated between them as the defense sees fit.



    The parties acknowledge their continuing duty to update these disclosures in good faith up until the

trial date.




3
  Additionally, after reviewing the original proposed Exhibit lists, each party will provide a list of any supplemental exhibits
to opposing party by October 25, 2021. Any further amendments to the exhibit lists will be disclosed immediately.

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    IT IS HEREBY ORDERED that all parties adhere to the guidelines / deadlines established by this

Order.

         New Orleans, Louisiana, this ___
                                      1st day of _______________,
                                                       April      2021.



                                           _____________________________________
                                           HONORABLE MARTIN L.C. FELDMAN
                                           UNITED STATES DISTRICT JUDGE




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